 05-44481-rdd            Doc 9692-21         Filed 09/28/07 Entered 09/28/07 16:40:29                 Exhibit G
                                                    Pg 1 of 1



In re Delphi Corporation, et al.                                          Twentieth Omnibus Claims Objection

Case No. 05-44481 (RDD)
    Exhibit G - Debtor Entity Reference

    CASE NUMBER               DEBTOR ENTITY
        05-44481              DELPHI CORPORATION
        05-44539              SPECIALTY ELECTRONICS, INC.
        05-44554              DELPHI TECHNOLOGIES, INC.
        05-44567              DELPHI MECHATRONIC SYSTEMS, INC
        05-44618              ASPIRE, INC.
        05-44623              DELPHI INTEGRATED SERVICE SOLUTIONS, INC.
        05-44624              DELPHI CONNECTION SYSTEMS
        05-44632              DELPHI AUTOMOTIVE SYSTEMS SERVICES LLC
        05-44640              DELPHI AUTOMOTIVE SYSTEMS LLC




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